            Case 2:06-cr-00035-MCE Document 97 Filed 07/12/06 Page 1 of 3


 1   MARK J. REICHEL, Bar #155034
     Attorney At Law
 2   655 University Ave., Suite 215
     Sacramento, California 95825
 3   Telephone: (916) 974-7033
     mreichel@donaldhellerlaw.com
 4
 5   Attorney for Defendant
     ERIC MCDAVID
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,              ) NO. 2:06-cr-0035-MCE
                                            )
10                     Plaintiff,           ) AMENDED STIPULATION AND
                                            ) ORDER ON FILING OF DISPOSITIVE
11         v.                               ) PRETRIAL MOTIONS
                                            )
12                                          )
     ERIC MCDAVID, et al.,                  ) DATE: October 3, 2006
13                                          ) TIME: 8:30 a.m.
                       Defendants.          ) JUDGE: HON. MORRISON C. ENGLAND
14                                          )
                                            )
15
     _____________________________
16
17         IT IS HEREBY STIPULATED by and between the parties hereto through
18   their respective counsel, R. STEVEN LAPHAM, Assistant United States Attorney,
19   ELLEN V. ENDREZZI, Assistant United States Attorney, attorney for Plaintiff, and
20   MARK J. REICHEL, Assistant Federal Defender, attorney for defendant McDavid,
21   SHARI RUSK, Esq., attorney for defendant Jenson, as follows: that the present date
22   for the filing of defense pretrial dispositive motions shall be re calendared for August
23   15, 2006, the government’s opposition pleadings shall be filed on September 5,
24   2006, and the defense reply September 15, 2006, with a hearing date of October 3,
25   2006 at 8:30 a.m.
26         This continuance is requested as all defense counsel need adequate time to
27   prepare for the filing of motions. Defense counsel will also speak with potential
28   witnesses, review discovery, in preparation and investigation of the case. Additional
            Case 2:06-cr-00035-MCE Document 97 Filed 07/12/06 Page 2 of 3


 1   legal research also needs to be performed and defense counsel may have to obtain
 2   and review pertinent records.
 3         Accordingly, all counsel and defendants agree that time under the Speedy
 4   Trial Act from the date this stipulation is lodged, through August 15, 2006, and
 5   through the date for the hearing, October 3, 2006, should be excluded in computing
 6   the time within which trial must commence under the Speedy Trial Act, pursuant to
 7   Title 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4 and Local Code e regarding
 8   time exclusion while motions are pending before the court.
 9
10   DATED: July 12, 2006.           Respectfully submitted,
11
                                                /s/ MARK J. REICHEL
12                                              MARK J. REICHEL
                                                Attorney for Defendant
13
14                                             /s/MARK J. REICHEL for
                                                SHARI RUSK, ESQ
15                                              Attorney for Defendant
16                                              McGREGOR W. SCOTT
                                                United States Attorney
17
     DATED: July 12, 2006.                      /s/MARK J. REICHEL for:
18                                              R. STEVEN LAPHAM
                                                Assistant U.S. Attorney
19                                              Attorney for Plaintiff
20
21
22
23
24
25
26
27
28


                                                2
            Case 2:06-cr-00035-MCE Document 97 Filed 07/12/06 Page 3 of 3


 1                                     ORDER
 2        IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to
 3   18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4 and Local Code T2.
 4
     DATED: July 11, 2006
 5
 6
 7                                         ___________________________________
 8                                         MORRISON C. ENGLAND, JR
                                           UNITED STATES DISTRICT JUDGE
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                             3
